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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                 DANVILLE DIVISION

United States of America


       v.                                         Docket No. 4:18-CR-27-MFU


Christopher Eugene Cook

Defendant’s reply to government’s response: why Mr. Cook is entitled to evidence
                    against him and evidence that helps him

       Probation has two sets of records, some that will help prove its argument that Mr.

Cook’s supervised release should be revoked, and some that will help Mr. Cook argue that

he ought not serve the recommended sentence. Mr. Cook merely requests that the

government agency seeking to strip his liberty be required to provide these documents to

his counsel—hardly a novel proposition. The government’s response does not address the

issues before the court.

   1) Mr. Cook’s complied with the standing order requiring that he petition the

       court for records in probation’s possession.

       The government argues that Mr. Cook’s motion for discovery is not a “petition to this

court” as required by a standing order. Mr. Cook, being aware of the standing order, sought

from the Court an order requiring Probation to provide certain items within its file, some of

which are confidential and cannot be disclosed without a court order. Mr. Cook complied

with the rule by requesting a Court Order requiring Probation to disclose specific items

within its possession. The government’s argument that his motion is not properly a petition

to the court is meritless.

       Additionally, the government’s attempt to argue that Mr. Cook’s request should be

denied for failing to comply with the practice employed in “hundreds of revocation hearings”
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is devoid of support in the law. Probation Officers are often referred to as an arm of the

Court. When a party seeks something from the Court, he generally must do so in writing by

filing a motion. See Fed. R. Crim. P. 47. Mr. Cook, by filing a motion, complied with the

Federal Rules.

   2) Mr. Cook cites to the Federal Rules to request that he be provided with the

       evidence against him; he cites to due process for the request for evidence

       within Probation’s files that would help him.

       The government misconstrues Mr. Cook’s motion by claiming he only cites to Fed. R.

Crim. P. 32.1(b)(2)(B). Mr. Cook also cited to cases that hold that due process requires him

to receive certain items of evidence within the possession of the government. See ECF. No.

13 at 2. While those facing a revocation of supervised release do not have the full panoply of

constitutional rights at their disposal, they are entitled to be treated with “fundamental

fairness.” See Gagnon v. Scarpelli, 411 U.S. 778, 782 (1973). The right to present witnesses

and documentary evidence is a corollary of a person’s right to compulsory process—a right

guaranteed in the Bill of Rights. See U.S. Const. amend. VI.

       Is it fair for Mr. Cook to face years in prison without being able to examine the

reports that document the crimes he is alleged to have committed, just because he is on

supervised release? No. Is it fair for Mr. Cook to face years in prison when documents

within the possession of probation might show that a lesser sentence would be justifiable

under 18 USC 3583(e)? No. Mr. Cook is not requesting his entire probation file. He is not

requesting to be provided with any confidential or sensitive information that might affect

another’s legitimate privacy rights. He is not requesting to burden probation or the

government with frivolous requests for discovery. He is simply asking that his counsel be

able to effectively advocate for him and argue for an appropriate sentence—and that he be

able to do so with the evidence that is already in the possession of his probation officer.
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   3) That items may be within the possession of other agencies does not negate

       Mr. Cook’s right to request, from the entity seeking his detention and the

       entity prosecuting him, these items.

       The government appears to argue that Mr. Cook is not entitled to evidence if it is not

“within the exclusive control of the Probation Service.” See ECF No. 16 at 2. Nothing within

the Rules requires a finding that probation, or any party with discovery obligations under

statute or rule, be the exclusive holder of the item being requested. Cf. Fed. R. Crim. P. 16

(simply requiring that items be within the government’s “possession” but not “exclusive

possession” to trigger the government’s discovery obligations). Though Mr. Cook’s request

for favorable information within Probation’s file does not have as much support in the law,

“[i]t appears axiomatic [that] defendants facing revocation shall have access to all evidence

in the probation office’s file that will be offered against them.” See United States v. Dixon,

187 F.Supp.2d 601, 603 (S.D.W. Va. 2002).

       The Dixon Court found that defendants have a lessened right, but still the ability to

request, exculpatory information (information that would be favorable to sentencing) within

the possession of the probation office. See id. at 604. The Court relied on Morrissey’s holding

that parolees have an “opportunity to be heard and show, if he can, that he did not violate

the conditions, or, if he did, that circumstances in mitigation suggest that the violation does

not warrant revocation.” See id. citing Morrissey v. Brewer, 408 U.S. 484, 471 (1972)

(emphasis added). As a result, the Dixon Court established a three-step process for when

defendants seek mitigating evidence within probation’s file: the defendant must first file a

request; probation reviews the file; and then probation submits the information to the court

for in camera review. Mr. Cook would happily agree to a similar framework in this case.
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                                        Conclusion

       Mr. Cook is simply seeking to be provided with the evidence the government intends

to use against him and with evidence within probation’s file that is likely to help him

effectively argue for an appropriate sentence under 18 USC 3583(e). His request is not

burdensome, and though it may not be in keeping with the government’s experience, is

supported by federal rules, caselaw, and his constitutional rights to due process.



Respectfully submitted,             /s/ Benjamin Schiffelbein
                                    Assistant Federal Public Defender
                                    NH Bar No. 267593
                                    210 First Street SW, Suite 400 Roanoke, VA 24011
                                    (540)777-0880
                                    Benjamin_Schiffelbein@fd.org
                                    Counsel for Mr. Cook
